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Exhibit
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AIRCRAFT DRY LEASE AGREEMENT

This Aircraft DRY Lease Agreement, including the attachments hereto (the Agreement), Is entered into as of the 25
day of March, 2015 by and between PASS Charters., a Michigan corporation (PASS Charters), as dry lessee, and Via
Airlines, a Colorado corporation (ViaAir), as wet lessor.

RECITALS
PASS Charters, engaged in the sales of passenger air transportation services.

ViaAir, an alr carrier of the United States, holds Air Carrier Operating Certificate Number GNOAOOSI issued by the
Federal .Aviation Administration (FAA), DOT Commuter Authority issued by DOT Order 2011-4-11, and an
approved air taxi registration under Part 298 of the DOT regulations. ViaAir is authorized to engage in domestic
and international operations in common carriage under Federal Aviation Regulations (FAR) Part 135 and in the
process of securing authorization under Part 121, including between the United States and Islands/nations in the
Caribbean Sea, and engages In such operations on a continuous basis. :

Pursuant to and in compliance with paragraphs (a) through {d) of FAR 119.53, 14 CFR § 119.53, ViaAlr, as dry
lessor, and PASS Charters, -as dry lessee, hereby contract for the operation by ViaAir of flights for the
transportation of PASS Charters'’s customers via on demand charter flights using one or more aircraft from ViaAir's
existing fleet on the terms and conditions set forth In thls Agreement.

Pass shall be the exclusive collegiate partner with ViaAir on all capacity within the ViaAir fleet (for both the
dedicated and non dedicated Pass Charters Airplanes) contingent upon Pass Charters utilizing all of the Aircrafts
detailed in Attachment D and in full compliance with all terms detailed in this agreement.

ViaAir shall, at all times, have exclusive operational control of all aircraft utilized for operations pursuant to this
- Agreement. Such aircraft shall be utilized exclusively for the carriage of PASS Charters's traffic in accordance with
schedules developed by PASS Charters, provided such schedules may Jawfully be operated by ViaAir.

In consideration of the mutual covenants contained herein, PASS Charters and ViaAir agree as follows:

TERMS AND CONDITIONS
GENERAL COMMERCIAL TERMS:

a. Alrcraft types and N-numbers to be operated by ViaAir: as detailed in Attachment D or equivalent alrcraft.
ViaAir will make best efforts to provide aircraft in its fleet type which has the highest weight carrying
capabilities

b, Passenger seats per aircraft: 30 seat while operated under FAR part 135. Full aircraft capacity while operated
under FAR part 121 expected to be completed by December 1* 2015. In the event that there is a delay in the
121 certification and Pass Is belng panelized by Its cllents or has to secure alternate lift, the parties will
discuss a mechanism in which Via will provide some compensation to PASS to offset the PASS penalty

c. Operational base: base as agreed upon mutually by the parties.

d. Term: Starting on April 29 2015 with Aircraft start dates as detailed in Attachment D through November 1°,
2017.; thereafter, term shall renew automatically in one (1) year increments unless either party delivers
written notice of nonrenewal at least 90 days In advance of renewal date, or as otherwise agreed by the
parties. PASS Charters shall have the sole right to terminate this agreement with notice to the ViaAir under
the following conditions: 1) ViaAir has its FAA Alr Carrier Certificate revoked or suspended. 2) ViaAlr breaches
the Exclusivity clause,

e. Price Payable to ViaAir: Fixed Monthly Amount as detailed in Attachment D for each Aircraft in service each
month payable on or before the the 28th of the preceding month to cover the fixed costs of the aircraft. In
addition PASS Charters shall pay hourly rate per block hour in any annual term of this agreement, as detailed

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in Attachment C; PASS Charters will collect from passengers and remit to cognizant authorities all applicable
taxes and government fees.

f. NO MINIMUM MONTHLY HOUR GUARANTEE.

g. Security Deposit: an amount equal to the monthly fixed payment for each plane (USD $126,291.00 for each
ERJ140 and USD $85,416 for each EMB120) to be pald within 22 days of signing this Agreement (Security
Deposit for the EMB-120 shall be paid by September 1‘ 2015). "Lessor shall deposit security deposit in a
separate special bank account maintained by Lessor and Lessee. Lessor agrees that it will not commingle said
security deposit with any of Lessors's other funds or property, but will hold such security deposit separate
and apart Any withdrawals of funds from this account shall be made only upon written mutual consent of
the parties for payment of obligations pursuant to the Lease Agreement. Upon termination of this Lease
Agreement, any unused funds on deposit in the special account shall be returned to Lessee.
Lessee herby grants approval to Lessor to use the security deposit for Aircrew training for crews required to
perform this Agreement, deposit for Alrcrafts to Alrcraft Owner, and 121 certification costs.

h, Payment Schedule: As per Attachment C

1. PRICE AND PAYMENTS, ‘ A.

1.1. PASS Charters will pay to ViaAir the Price set 1,2, Based on the schedule supplied by PASS

 

forth above, as may be amended by
agreement of the parties from time to time,
for each Block Hour operated by ViaAir under
this Agreement in addition to the monthly
flxed cost payment. ; any decrease or increase
in the amount of rate per hours shall be
negotiated in good faith by the parties without
delay upon ViaAir request. ViaAir shall
substantiate the reason for the
increase/decrease by providing evidence to
PASS Charters, Flights hours for each flight
shall be rounded to the nearest one-tenth of
an hour. The price paid shall be the greater of
(i) the actual Block Hours flown during any
given period, or (ii) . All amounts paid by PASS
Charters shall be in U.S. Dollars in Immediately
available funds. The Block Hour price Is based
on ViaAir's provision of ACMI (Aircraft, Crew,
Maintenance and Insurance) only, subject to
the terms and conditions of this Agreement.
ViaAir shall be responsible for the ownership
and/or lease costs of alrcraft operated under
this Agreement, provision of crews as
necessary to operate all flights under this
Agreement, all maintenance of  ViaAir-
‘ Operated aircraft, and all insurance covering
ViaAlr-operated aircraft. PASS Charters are
responsible for the items listed on Attachment
A; Any additional items for the responsibility of
PASS to be agreed to and added to Attachment

2, CONTRACTUAL
OPERATIONAL CONTROL,

Charters pursuant to Article 3 of this
Agreement, ViaAir shall reconcile and prepare
a monthly Invoice and submit it to PASS |
Charters within five (5) business days of the
end of the month. The invoice shall also
include any actual costs paid by ViaAir but
which are ultimately to be borne by PASS
Charters pursuant to this Agreement. PASS
Charters shall pay each invoice In accordance
with Attachment C.

RELATIONSHIPS & SERVICES;

2.1, PASS Charters represents that each passenger

presented: to ViaAir for carriage under this
Agreement will be eligible to particlpate in the
flight under applicable government rules and
regulations, including but not IImited to health,
passport, visa, and other international travel
requirements if required. ViaAir shall have no
obligation to carry passengers who do not
comply with applicable laws, rules and
regulations. PASS Charters shall use Its best
efforts to ensure compliance by passengers
with all customs, police, public health, and
other regulations, including the immigration
and customs laws, of each country or state
from, through, or to which a flight Is operated
pursuant to this Agreement. ViaAir shall not be
liable for loss or expense due to a passenger's

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or PASS Charters's fallure to comply with the
requirements set forth above. PASS Charters
shall indemnify and hold ViaAir harmless from
any liability, loss, cost, or expense arising from
PASS Charters's or any passenger's failure to
meet its, his or her obligations under this
section 2.1, including but not limited to any
fines or penalties Imposed upon ViaAir by
customs, immigration or other authorities.

This Agreement is: solely: between ViaAir and
PASS Charters and no other individual or
organization shall be deemed a party hereto or
to have any rights, obligations, or benefits
under this Agreement.

ViaAir shall be entitled in cases of necessity to
substitute equivalent aircraft for the aircraft

_ specified by this Agreement and Is authorized

in such circumstances, to the extent permitted
by applicable regulations, to sub-contract the
performance of the obligations, with prior
notification to PASS, it has undertaken
hereunder to a duly. authorized air carrier.
Neither party may assign this Agreement, in

whole or in part, without the prior written .

consent of the other party

ViaAir shall have exclusive operational control
in the manner prescribed by FAR Part 135 and
121, including but not limited to Subpart T
thereof and FARs 121.533, 121.535 and
121.537, as applicable, over each aircraft and
each flight operated under this Agreement.
ViaAlr shall assign crewmembers (who shall be
direct employees of ViaAir) for each flight and
select the particular route to be flown and the
airport(s) to be used. ViaAir shal) determine
the actual departure time of each flight (taking
account of PASS Charters's requirements), and
ViaAlr shall determine the suitability of
passengers and their possessions for carriage
on the aircraft; provided, ViaAir shall use best
efforts to operate at the Intended times set
forth in Attachment B, as may be amended by
agreement of the parties from time to time. In
addition, in respect of all flights operated
under this Agreement, ViaAir shall have control
and authority, to the exclusion of PASS
Charters and all others, over crewmembers
and thelr training; aircraft weight and balance;
performance of aircraft. maintenance;
determination of aircraft airworthiness; flight

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2.8.

dispatch, locating and tracking; and all other
functions relating to the maintenance or
operation of any ViaAir aircraft.

The pilot-in-command of each flight operated
under this Agreement is authorized to take all
necessary measures he or she deems
necessary to ensure safety and security. The
pilot-in-ccommand «shall have complete
discretion to determine all matters relating to
passengers, loading, load and distribution,
whether and {n what manner any flight shall be
carried out, whether there shall be deviation
from the specified route, and where landings
shall be made. Such determination by the
pilot-in-command shall be final and binding
upon PASS Charters and all passengers,

ViaAir will not accept airfare payments from
individual passengers and has not authorized
receipt or acceptance of such _ individual
payments by any other person on ViaAlr's
behalf. ,

In the event that any seats or space available
to PASS Charters shall not be utilized by PASS
Charters, PASS Charters hereby consents to the
use by ViaAir of such seats or space, without
refund or reduction of the Price, for the
transportation of persons and property for the
purpose of supporting ViaAir’s operations
under this Agreement, subject to approval of
PASS customer..

Subject to the best-efforts obligation set forth
in section 2.4 above, the times of departure or
arrival which may be designated In_ this
Agreement or elsewhere are approximate and
form no part of this contract nor shall they
represent any undertaking of ViaAir to depart
or arrive at such times. ViaAir assumes no
responsibility for notifying passengers with
respect to any agreed departure time, arrival
time, delay or cancellation; all such notices
shall be -furnished to passengers by PASS.
Charters, provided that on-board
announcements or advisories required by
government regulation shall be the
responsibility of ViaAir.

3. SCHEDULES.

3.1,

PASS Charters shall notify ViaAir as far in
advance as possible of the proposed schedule
for each day's operations to be conducted by
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ViaAir under this Agreement. ViaAir and PASS
shall establish a notification and booking
process with communication procedures for all
flights; ViaAlr shall use its best efforts to
accommodate the requested schedule, as well
as any changes In the schedule subsequently
requested by PASS Charters, to the extent
feasible under applicable government rules
and regulations; provided, such changes may
result In additional charges to PASS Charters to
reimburse ViaAir for any increase in its ACMI
costs resulting from the change.

4. GOVERNMENT LAWS, REGULATIONS AND
APPROVALS.
4.1. All flights shall. be operated under~ PASS

4.2,

4.3.

Charters's conditions of carriage applicable to
passengers; PASS Charters shall contract
directly with all passengers to be carried.
Neither PASS Charters nor ViaAir shall have
authority to bind the other contractually to
passengers or otherwise. PASS Charters shall
issue to passengers such itineraries, baggage
checks, and other traffic documents as are
necessary or appropriate, PASS Charters shall
ensure that passengers comply with the laws,
rules and regulations governing their carriage:
provided ViaAir shall be responsible for the

safety of each flight including but not limited ©

to the provision of pre- flight safety briefings
to passengers, and compliance with all FAA
operational requirements.

Each party agrees to comply with all DOT, FAA,
Transportation Security Administration (TSA)
and other statutes, rules, regulations, orders,
decisions, notices, requirements, guidelines
and policies as may ‘be applicable to it. In
particular, this Agreement is entered into in

‘ accordance with, and the parties shall comply

with, the provisions of FAR 119.53, paragraphs
(a) through (d), applicable ‘to dry leasing of
aircraft and other rules and _ regulations
governing dry-lease operations. ViaAlr to
Insure a Argus registration

ViaAir's obligation to dry-lease aircraft to PASS
Charters and operate flights under this
Agreement shall be contingent upon and
subject to the tlmely Issuance of such
approvals, clearances, permits, and operating
authorities as may be required to be Issued or
granted by the DOT, FAA, TSA, and any other

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4,4,

governmental agency whether foreign or
domestic. In the event that any governmental _
agency shall fail or refuse to Issue or grant the
approvals, clearances, permits, or operating
authority referred to herein sufficiently in
advance to enable ViaAir to make required
flight arrangements or shall, after issuance,
revoke or rescind the same, ViaAir may elect to
terminate this Agreement In total or in respect
to the affected flights without liability for
penalties or damages. In the event ViaAir shall
become insolvent and or file for bankruptcy
protection, PASS Charter shall have the right to
assume ViaAir lease agreement on the aircraft
and take over operations as required and
subject to the master lease with head Lessor.

In the event of a flight delay or cancellation,
PASS Charters shall provide, at its sole cost and
expense, any and all amenities, services,
alternate transportation or refunds to
passengers required under PASS Charters's
conditions of carriage or as PASS Charters
otherwise deems appropriate. Should the
primary ViaAir aircraft have a mechanical delay
which cannot be quickly resolved, ViaAlr shall
make best efforts to replace the primary
aircraft with an internal backup aircraft. Should
ViaAir not have an internal backup and the
aircraft mechanical on the primary aircraft
cannot be fixed within a reasonable
timeframe, PASS Charters and ViaAir shall

work together to resolve a_ replacement
outside of the ViaAir fleet.

PASSENGERS.

5.1. PASS Charters agrees at Its own expense to

give such notice to passengers as js
appropriate upon the occurrence of any event
which causes or may cause the delay or
cancellation of any one or more flights. ViaAir
shall Incur no Ilability of any nature to PASS
Charters or any passenger or other party as a
result of the giving of such notice or the failure
to do so. VlaAlr has the responsibllity to
immediately communicate aircraft delays.

PASS Charters and ViaAir shall each
comply with the Air Carrier Access Act and all
regulations issued by DOT with respect to
Nondiscrimination on the Basis of Disability in
Air Travel, 14 CFR Part 382, in respect of all
flights to or from the United States operated

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5.2,

under this Agreement. To the extent permitted
by Part 382, PASS Charters shall notify ViaAlr of
any passengers with disabilltles at least forty-
eight (48) hours (or as soon thereafter as
possible) in advance of travel, so as to provide
ViaAir advance notice of the passenger's
Intention to travel and of the passenger's
disability and special needs. ViaAir shall
ascertain if the mecessary services and
accommodations are avallable for the flight
and provide such services and
accommodations to the passenger, if available.

Except as otherwise required by applicable law
or regulation, ViaAlr may refuse carrlage to, or
off-load, any person whose conditlon, conduct
or behavior may, in the opinion of ViaAir or its
pilot-In-command, be such as to involve -a
safety or security hazard or risk to the
passenger, other persons, the aircraft, or other
property. In the event that ViaAir-refuses
carriage or off-loads any passenger, a written
report of the incident shall be provided to
PASS Charters without delay describing the
incident and the reasons for ViaAlr's action.

6.- PASSENGERS' BAGGAGE AND PROPERTY.

6.1.

6.2.

_ property — shall

PASS Charters will accept for carriage with

each passenger only such personal property as°

is necessary for the purpose of the trtp, which
will not compromise the safety or security of
the flight, and which can be transported in
accordance with applicable laws, rules,
regulations and procedures. With the
exception of checked baggage, all such
remain in -the respective
passenger's possession at all times, and VlaAir
shall have no liability or responsibility for such
property. ViaAir may refuse to carry any
property if its weight, size, or character
renders it unsuitable for carriage. Under no
circumstances shall PASS Charters permit on
board or accept for transportation on any
ViaAir-operated flight any hazardous materials
(HAZMAT) or dangerous goods (DG), and PASS
Charters shall provide timely and _ sufficient
written notice of ‘this restriction to all
passengers.

All baggage including cabin baggage is limited

to the maximum weight restrictions of the
aircraft and operational limitations of the
aircraft and operations of ViaAir. PASS Charters

6.3.

. 6.4,

6.5,

6.6.

‘bicycles),

agrees to include this statement in the
contract of carrlage and any other notice
between itself and passengers in conformity
with the Montreal Convention or the Warsaw
Convention, as applicable, ViaAir may refuse to
carry a passenger's baggage or property on any
flight other than the one on which the
passenger is transported. Except as required
by Part 382 of the DOT regulations, ViaAir may
refuse any property for transportation if it
cannot accept ordinary handling or if Its
weight, size, or character renders it unsuitable
for transportation.

Fragile or perishable items unsuitable as
checked baggage, such as but not limited to
musical instruments (guitars, drums),
electronic items  (phonographs, TVs),
ornamental items (wigs, antiques, clocks),
artistic Items (paintings, — sculptures),
photographic items (more than-one-camera,
lenses), sporting/recreatlonal items (skis,
paper items (decorations,
manuscripts}, perishable items (frults, candy,
plants, chemicals, film, medicines) and items
made of or bottled in glass (perfumes, liquors),
must be adequately packaged and protected .

PASS Charters will not accept any live animals
for transportation except as required by Part
382 of the DOT regulations.

PASS Charters will refuse to aecept for
transportation any baggage that does not bear
a tag, label or other. device with the
passenger's full name and address.

Notwithstanding any other provision of this
Agreement, ViaAlr shall not be liable for, and

_ PASS Charters shall indemnify and hold ViaAir

harmless from, any loss, damage or expense
arising out of or relating to delay, damage, loss
or non-delivery of any passenger's baggage or
other property. All claims for loss, damage or
expense arising out of or relating to delay,
damage, loss or non-delivery of a passenger's
baggage or other property shall be submitted
directly to PASS Charters or referred by ViaAir
to PASS Charters, as the case may be, and shall
be processed and discharged promptly by PASS
Charters Including the payment of any sum
determined to be due the passenger in
response to the claim, and the assumption by
PASS Charters of all actual and potential

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6.7.

liability relating to the claim. In processing and
responding to claims, PASS Charters shall apply
to the maximum extent available the
limitations of liability for delay, damage, loss or
non-delivery of a passenger's baggage or other
property established under the Montreal
Convention or the Warsaw Convention, as
applicable. ‘

PASS Charters warrants that It shall cause all
notices required under this Agreement and the
Montreal Convention or the Warsaw
Convention, as applicable, Including the notice
entitled Advice to International Passengers of
Limitations of Liability, to be timely delivered
in writing, In a manner designed to ensure
enforceability of all restrictions and IImitations
applicable to passengers, to each passenger to

* be transported on an ViaAir-operated flight.

7. LIABILITY AND FORCE MAJEURE.

7.1. Any flight may be delayed or canceled by

7.2,

7.3.

ViaAir due to weather conditions, fuel
shortages, strikes or labor problems, acts of
God, absence of any necessary governmental
approvals, other governmental action, wars or
civil commotions, sanctions, seizure under
legal process, airport closure, or any other
cause beyond ViaAlr's control (whether of the

same or different nature); as such, the”

operation of any flight is not guaranteed. The
limited right of cancellation reserved to ViaAlr
under this section 7.1 shall bein addition to,
and not In place of or In derogation of, any
other rights which ViaAir may have, at law or in
equity or under any other provision of this
Agreement.

ViaAlr will utilize its best efforts to cooperate

with and assist PASS Charters in the event.

substitute service or other changes are
required, .

ViaAir agrees upon request to carry
equipment, documents or other property of
PASS Charters, space and weight restrictions
permitting, on any flights to be flown
hereunder. ViaAir shall have no liability for
damage or loss of such equipment, documents
or other property,

8. INSURANCE AND INDEMNITY.

8.1.

ViaAir will at all times while any aircraft ts in

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use under this Agreement maintain insurance
coverage applicable to such aircraft in the
amounts and containing the provisions set
forth below:

8.1.1.All-risk ground, taxiing, and flight hull
insurance, including foreign object
damage with a deductible no greater than .
USD 150,000.00, with respect to the
aircraft, which policy will contain a waiver
of subrogation endorsement in favor of
PASS Charters.

8.1.2.Comprehensive air carrler _ liability
insurance including contractual liability,
public liability, passenger legal liability,
premises damage liability, cargo and
personal property liability, personal injury
and property damage, with IIlmits of at
least one hundred fifty million dollars
(USD 150,000,000.00) combined single
limit per occurrence. All public fiability
and passenger legal liability insurance will,
insure against liability which ViaAlr or
PASS Charters or both might incur by ~
reason of ViaAir's operation of the
alrcraft.

8.1,3.All such insurance policies shall name as
additional insureds PASS Charters and its
officers and directors and such additional
entities as either party may reasonably
designate; ViaAir shall list all of PASS
clients as additlonal insure.

8.1.4.ViaAir shall arrange with Its insurer or
insurance broker that in the event of
cancellation of ViaAir's Insurance for any
reason whatsoever or in the event of any
_ material change, restriction, or reduction
In coverage afforded by such policies,
written notice of such change, restriction,
reduction in coverage or cancellation shall
be sent to PASS Charters not less than
thirty (30) days (or such lesser perlod as
may be customarily available in respect of
War and Allied Perils) prior to the date
such change, restriction, reduction in
coverage or cancellation will be effective.

8.2. To the extent not covered by insurance carried

by ViaAir or PASS Charters, PASS Charters shall
indemnify ViaAlr against any third party claims,
demands or causes of action whenever
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8.3.

8.4,

8.5,

occurring which arise out of the actions or
failures to act of PASS Charters in accordance
with this Agreement.

To the extent not covered by Insurance carried
by ViaAir or PASS Charters, ViaAir ‘shall
indemnify PASS Charters against any third
party clalms, demands, or causes of action
whenever occurring which arise out of the
actions or failures to act of ViaAir in
accordance wlth this Agreement.

PASS Charters shall ensure that all ground
handlers, fuelers and other service providers
arranged for by PASS Charters are satisfactory
to ViaAir in its reasonable discretion and carry
such insurance in such amounts and with such
provisions in favor of ViaAlr as may reasonably
be required by ViaAir. PASS Charters shall
indemnify ViaAlr against any claim, lien, or
other action asserted against ViaAir or its
alrcraft by any ground handler, fueler or other
service provider except If any damage was
caused by an employee of ViaAir.

The respective party required to make certain
under this Agreement that insurance is
provided will cause certlficates of insurance to
be furnished to the other party prior to the
start of operations hereunder, evidencing that
all of the insurance required under this
Agreement is in full force and effect with
insurers of nationally recognized standing and
reputation in the United States.

9, REPORTS AND NOTICES,

9.1,

9.2,

PASS Charters will furnish to ViaAir at such
time and in such form as requested, all such
data as Is reasonably requested by ViaAir to
facilitate compliance with applicable laws,
rules, regulations and procedures,

ViaAir will furnish to PASS Charters at such
time and in such form as requested, all such
data as is reasonably requested by PASS
Charters to facilitate compliance with
applicable laws, rules, regulations and
procedures.

10. DISCLOSURES AND CONSUMER PROTECTION.

10.1. In advertising, marketing and selling

seats on flights to be operated under this
Agreement, PASS Charters shall ensure all
appropriate disclosure that ViaAir will operate

the flights is made on PASS Charter's Web site
and elsewhere to the extent and in the manner
required by DOT regulations, 14 CFR Part 257,
and shall indemnify and hold ViaAir harmless
against the results of any noncompliance.

PASS Charters shall comply with all

other DOT requirements applicable to it,
including but not limited to 14 CFR Part 243
(passenger manifest information], 14 CFR Part

(denied boarding procedures and

compensation], and 14 CFR Part 259 (tarmac
delay plan, customer service plan, and other
passenger protections), and shall indemnify ~
and hold ViaAir harmless against the results of
any noncompliance.

11. Performance Review Meetings.

The parties shall perform a monthly

Performance Review Meeting (“PRM”) in
which — the
communication between the parties as well as
operating procedures will be reviewed.

performance — of — ViaAir, —the

Each PRM will be summarized with

actionable Action Items that will be monitored
and reviewed on the following PRM,

Each Party will identify 2 members of

its executive staff to participate In the PRM.

12. MISCELLANEOUS,

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12.1.1. This

This Agreement:

document reflects only this
agreement between PASS and ViaAlr (dry.
lease agreement);

12.1.2. shall not bind either party until signed *

by an authorized official of such party, nor
be modified except by written agreement
signed by authorized officials of both
parties; .

12.1.3. shall be interpreted in accordance with

the laws of the State of Michigan, USA;
and

12.1.4. shall be terminable by either party

forthwith in the event the other shall seek

‘the protection or be placed, under the

jurisdiction of any bankruptcy court, shall
be or become insolvent, or shall make a
general assignment for the benefit of

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12.2.

12,3,

12.4,

The fallure of elther party at any time
to require the performance by the other of any
of the terms or provisions hereof shall in no
way affect the right of that party thereafter to
enforce the same; nor shall the waiver by
either party of any breach of a term or
provision hereof be taken or held to be a
walver of a succeeding breach of such term or
provision, or as a walver of the term or the
provision itself.

Titles are Inserted in this Agreement for
the purposes of reference and convenience
and in no way define, limit or describe the
scope or intent of this Agreement. As used in
this Agreement, the mascullne, feminine, or

neutral gender, and the singular and plural —

number shall each be deemed to include the
others whenever the context so indicates.

All notices and other communications
between the parties provided for or permitted
hereunder shall be made in writing and
delivered by facsimile or other electronic
means to the respective officlal signing this
Agreement at the followlng address:

If to PASS Charters, to: PASS Charters
Attention - William Larkin

6544 Highland Road

Suite 101

Waterford, MI 48327
Phone - (248) 644-1952
Fax - (248) 644-3316

Email - blarkin@passcharters.com

If to ViaAir, to:

Via Alrlines Attention — Ami Vizer, Chairman
218 Jackson St.

Maitland, FL 32751

Phone - (407) 641-4122

Fax - (407) 641-4122

Email —- amt@ifiyviealr.com

All notices shall be effective upon receipt.

12.5. This Agreement may be executed in

counterparts, each of which shall be deemed
an original, but which together shall constitute
one and the same instrument. Recelpt of a
facsimlle or other electronic

12.6. Each Individual who executes this

Agreement on behalf of a party certifies that
he or she is duly authorized to execute this
Agreement on behalf of that party and is
acting within the scope of his or her authority
in dolng so.

IN WITNESS WHEREOF, PASS Charters and ViaAir have caused this Agreement to be duly executed as of the date
and year first written above.

Signat'

Printed Namgy, €

Title:

  
     

POS SCY Cnr F

 

Via Airlines

Signature:
Printed Name:
Title: Chew inan

 

 

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ATTACHMENT A

Costs Borne by PASS Charters
1. Passenger taxes and fees

2. Third-party charges whether assessed on a per-passenger basis or otherwise including but not limited to
security screening ‘

3. Landing and airport fees Including space rental for ViaAir to comply with operational requirements
4. Gate rental, check-in and loading/unloading charges ,

5. Ground handling, Including but not limited to aircraft parking, ramp handling charges, passenger handling
charges, bus transfers, alrcraft cleaning

6, De-icing as necessary
7. Overflight and air traffic control charges, if any

8. Fuel, oil and all other fluids consumed by aircraft for all flights regardless of purpose from the start of this .
agreement. .

9, Crew layover expenses, including lodging at locations away from the base of operations as necessary

10, Crew base costs including but not limited to housing, per diem, rental car, transfers and airline tickets to
swap flight crews on average every six (6) days.

- 11. Inflight catering and supply costs and all costs of any pre- or post-flight amenities provided to passengers;
revenues from any-inflight sale of food, beverages, or other items supplied by PASS Charters shall be
disbursed to PASS Charters, which shall set the retail price of each item o

12. Secure flight data processing and reservations system integration if applicable

13. All marketing, advertising, promotion and sales expenses
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ATTACHMENT B PROPOSED SCHEDULE

ON DEMAND SCHEDULED FLIGHTS

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ATTACHMENT C - PAYMENT SCHEDULE

PASS Charters shall make the fixed rent payment no later than the 28th day of the preceding month, Pass Charters
shall remit payment for Variable Hours Payment no later than ten (10) days of receipt of Invoice.

ViaAlr shall accomplish reconcillation of actual Flight Hours operated during each calendar month, and any other
charges Incurred by ViaAir that are PASS Charters's responsibility, during the first ten (10) days of the ensuing
calendar month. Invoice shall be issued upon completion of each reconciliation with payment due ten (10) days
after date of Invoice.

‘Block Hours Varlable Payment shall be as follows:

ERJ-140 EMB-120
First 450 Block Hours: $1,379.00 $886.00
451 - 600 Block Hours: $1879.00 $1186.00
600 + Block Hours: $2379.00 $1486.00

Additional Payments Due

STM-Surcharge

In addition to all payments detailed in this agreement, Pass Charters shall pay ViaAir an additional $200 per Block
flight hour (“STM surcharge”) for flights provided to Shorts Travel.

The Partles will reconclle these amounts, In good faith as part of the monthly reconciliation, All STM surcharge
payments shall be paid In accordance with the payment terms detailed In this Agreement.

Additional non-dedicated Airplanes ACMI

Based on availability and provided that Pass Charters utilizes all airplanes detailed in Attachment D, Pass Charters
shall be entitled to use additional airplanes on ViaAir’s fleet with an ACMI payment per Block hour of:

1, ERJ-145/140/135 - $3,785 per Block hour
2. EMB-120 - $2,250 per Block Hour

All payments to ViaAlr shall be accomplished by electronic transfer of U.S, Dollars to the following account:
Bank: Bank of America
Orlando, FL
Wire Deposit ABA#: 026009593
ACH Deposit ABA#: 063100277
ACCT#H: 898052316815
ACCT Name: Via Airlines

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Attachment D — Alrcrafts

The following sectlon details the Aircraft Pass commits to charter from ViaAir

 

Aircraft N-Number | Into service date | Period of Operation Monthly

 

 

 

 

 

 

 

 

 

 

 

 

Type . Fixed

ERJ140 | TBD September 1, | Annual ~ $126,291
2015

ERJ140 TBD October 19", | Annual - $126,291
2015 ‘

ERJ140 =| TBD October 19% | Annual $126,291
2015

ERJ140. |TBD November 1° | Annual $126,291
2015

EMB120 | TBD October 1°* 2015 | Each year between October — March 1° * $85,416

* End of Period of operation is defined as the end of March Madness.

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